Name,Case  5:17-cv-01871-JGB-KK
     Address                             Document
             and Telephone Number of Attorney(s):              91 Filed 11/12/21 Page 1 of 1 Page ID #:1197
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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                    CASE NUMBER
ESTATE OF CHRISTIAN VARGAS, et.al.
                                                                             5:17-CV-01871-JGB (KKx)
                                                Plaintiff(s)
                              v.
CITY OF COLTON, et.al.
                                                                                  MEDIATION REPORT

                                                Defendant(s).
Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation session even
if the negotiations continue. If the case later settles with the assistance of the mediator, the mediator must file
a subsequent Report.
1.       ✔   A mediation was held on (date): November 11, 2021                     .
             A mediation did not take place because the case settled before the session occurred.
2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by L.R. 16-15.5(b).
                    Did not appear as required by L.R. 16-15.5(b).
                                Plaintiff or plaintiff's representative failed to appear.
                                Defendant or defendant's representative failed to appear.
                                Other:
3.      Did the case settle?
                ✔   Yes, fully, on November 11, 2021              (date). , subject to the approval of the Court pursuant to
                    Yes, partially, and further facilitated discussions areminors’ compromise petitions.
                                                                             expected.  (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                    No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?




Dated: November 12, 2021
                                                                                  Signature of Mediator
The Mediator must electronically file original document in CM/                     Richard Copeland
ECF using one of four choices under "Civil => Other Filings =>                    Name of Mediator (print)
ADR/Mediation Documents => Mediation Report (ADR-3)."

ADR-03 (10/19)                                         MEDIATION REPORT                                      Page 1 of 1
